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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :         Case No:
                                             :
               v.                            :
                                             :         VIOLATIONS:
                                             :
TRISTAN CHANDLER STEVENS,                    :         18 U.S.C. § 111(b)
                                             :         (Assaulting, resisting, or impeding certain
                    Defendant.               :         officers or employees)
                                             :
                                             :         18 U.S.C. § 231(a)(3)
                                             :         (Civil Disorder)
                                             :
                                             :         18 U.S.C. § 1752(a) & (b)
                                             :         (Restricted Building or Grounds)
                                             :
                                             :         40 U.S.C. § 5104(e)(2)
                                             :         (Violent Entry or Disorderly Conduct)

               AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                           AND ARREST WARRANT

       I, Steven A. Weatherhead, being first duly sworn, hereby depose and state as follows:

                                  PURPOSE OF AFFIDAVIT

       1.      This Affidavit is submitted in support of a Criminal Complaint charging

TRISTAN CHANDLER STEVENS (“STEVENS”) with violations of 18 U.S.C. §§ 111(b),

231(a)(3), 1752(a), (b), and 40 U.S.C. § 5104(e)(2).

                                   AGENT BACKGROUND

       2.      I have been a Special Agent with the FBI since October of 2007, where I am

currently assigned to a squad which investigates narcotics trafficking offenses. Since October

2008, I have been working on federal narcotics investigations and have participated in

investigations which have led to the indictments and arrests of narcotics distributors. Since

2007, I have received training and experience in interviewing and interrogation techniques, arrest
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procedures, search and seizure, narcotics, white collar crimes, search warrant applications, and

various other crimes. In the course of my training and experience, I have become familiar with

the methods and techniques associated with the distribution of narcotics, the laundering of drug

proceeds, and the organization of drug conspiracies. I have also had extensive experience with

various forms of electronic evidence, such as cell phone data and social media evidence, as it

relates to criminal activity.

        3.      I am one of the investigators assigned to an ongoing investigation by the FBI,

United States Capitol Police (“USCP”), Metropolitan Police Department (“MPD”), and other law

enforcement agencies, of riots and civil disorder that occurred on January 6, 2021, in and around

the United States Capitol grounds. Since I became involved in this investigation on January 6,

2021, I have conducted interviews, reviewed public tips, reviewed publicly available photos and

video, and reviewed relevant documents, among other things.

        4.      The facts in this affidavit come from my review of the evidence, my personal

observations, my training and experience, and information obtained from other law enforcement

officers and witnesses. Except as explicitly set forth below, I have not distinguished in this

affidavit between facts of which I have personal knowledge and facts of which I have hearsay

knowledge. This affidavit is intended to show simply that there is sufficient probable cause for

the requested arrest warrant and does not set forth all of my knowledge about this matter.

                                         BACKGROUND

        5.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, located at First Street Southeast, Washington, District of Columbia.

During the joint session, elected members of the United States House of Representatives and
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Senate met in the United States Capitol to certify the vote count of the Electoral College for the

2020 Presidential Election, which took place on November 3, 2020.

       6.      The United States Capitol is secured 24 hours a day by security barriers and

USCP occupy various posts throughout the grounds. Restrictions around the United States

Capitol include permanent and temporary security barriers and posts manned by USCP. USCP

officers wore uniforms with clearly marked police patches, insignia, badges, and other law

enforcement equipment. Only authorized people with appropriate identification are allowed

access inside the United States Capitol. On January 6, 2021, the exterior plaza of the United

States Capitol was also closed to members of the public.

       7.      The January 6, 2021 joint session began at approximately 1:00 p.m. Shortly

thereafter, by approximately 1:30 p.m., the House and Senate adjourned to separate chambers to

resolve a particular objection. Vice President Michael R. Pence was present and presiding, first

in the joint session, and then in the Senate chamber.

       8.      As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the United

States Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the United States Capitol building and USCP were present, attempting to keep the

crowd away from the Capitol building and the proceedings underway inside. As the certification

proceedings were underway, the exterior doors and windows of the Capitol were locked or

otherwise secured.

       9.      At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and past officers of the USCP, and the crowd advanced to

the exterior façade of the building. The crowd was not lawfully authorized to enter or remain in
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the building and, prior to entering the building, no members of the crowd submitted to security

screenings or weapons checks by the USCP or other authorized security officials.

       10.     A short time later, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. As such, all proceedings

of the United States Congress, including the joint session, were effectively suspended until

shortly after 8:00 p.m. the same day. In light of the dangerous circumstances caused by the

unlawful entry to the United States Capitol, including the danger posed by individuals who had

entered the United States Capitol without any security screening or weapons check,

Congressional proceedings could not resume until after every unauthorized occupant had left the

United States Capitol, and the building had been confirmed secured. The proceedings resumed

at approximately 8:00 pm after the building had been secured. Vice President Pence remained in

the United States Capitol from the time he was evacuated from the Senate Chamber until the

sessions resumed.

       11.     After the Capitol was breached, USCP requested assistance from MPD and other

law enforcement agencies in the area to protect the Capitol, keep more people from entering the

Capitol, and expel the crowd that was inside the Capitol. Multiple MPD officers and other law

enforcement officers came to assist.

       12.     During national news coverage of the aforementioned events, video footage

which appeared to be captured on mobile devices of persons present on the scene depicted

evidence of violations of local and federal law, including scores of individuals inside the United

States Capitol building without authority to be there.
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                STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       13.     By 3:00 PM on January 6, 2021, protesters had engulfed the west side of the

Capitol and were climbing on the scaffolding in front of building as well as various features of

the building. Although the Capitol Building had already been breached and protesters had

flooded in through several entrances, a group of MPD officers and members of the USCP or

other agencies had been able to hold their position and deny entry through the very prominent

entrance of the lower west terrace. To enter the Capitol through the lower west terrace, one must

walk through a short tunnel with a series of glass doorways. Shortly before 3:00 PM, a group of

officers were maintaining a line at the second set of glass doors inside the tunnel. Officers

reporting to the scene rushed to the tunnel from within the building while protesters outside of

the tunnel continued to summon more men to push their way through the tunnel. A growing

number of protesters made their way into the tunnel with a variety of tools and weapons and the

tunnel became the point of one of the more intense and prolonged clashes between protesters and

law enforcement at the Capitol on that day. Many of the protesters in the tunnel were recording

video and many of the videos continue to circulate Internet channels, social media, and the news.

       14.     Portions of the rioters’ effort in the tunnel to get through the lower west terrace doors

were captured both in video surveillance from USCP camera in the tunnel and in video footage

posted to YouTube (hereinafter, YouTube Video 1). In YouTube Video 1, which was reviewed by

your affiant, a large group of rioters attempted to break through the line of uniformed law

enforcement officers who were in place to prevent rioters from entering the lower west terrace

door of the United States Capitol. Law enforcement officers are at the front of the line attempting

to stop numerous rioters from gaining access to the United States Capitol Building.

       15.     Around 2:49 p.m., surveillance video shows a white male with brown hair, a

brown beard, and glasses, wearing a brown jacket with a lighter colored hood and a black
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backpack, who was subsequently identified as STEVENS, as explained below, can first be seen

near the entrance of the tunnel. STEVENS can then be seen entering the tunnel with the rioters,

who begin to push against the officers as a group. STEVENS can be seen in surveillance footage

yelling and placing 1, then 2, and then 3 fingers in the air, with the crowd then pushing forward

as he puts up 3 fingers. Surveillance footage shows that this continues a few times until someone

at the front urges everyone to back up, at which point Stevens can be seen waiving to the crowd

to back up. In both the surveillance footage and YouTube Video 1, STEVENS (in the red box in

the still from YouTube Video 1, in Figure 1, below) then exits the tunnel with some of the rioters

but stays near the arch by the entrance, looking towards the direction of where the front line of

the rioters continue to clash with law enforcement inside the tunnel.




                              Figure 1 - YouTube Video 1

       16.     Then, at approximately 2:56 p.m., STEVENS can be seen in surveillance footage

going back into the tunnel with additional rioters walking toward the line of law enforcement

guarding the lower west terrace doors. STEVENS can be seen holding what appears to be a

cellular phone in his hand with the light on as he walks forward into the tunnel.

       17.     Then, at approximately 2:58 p.m., STEVENS can be seen in surveillance footage

turning around and again exiting the tunnel as other rioter continue to try force their way through
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the lower west terrace doors.

       18.     Then, at approximately 3:03 p.m., STEVENS (as indicated in the red box in

Figure 2 below) can be seen in surveillance footage again returning to the tunnel and moving

towards the line of law enforcement officers guarding the lower west terrace doors, as rioters

push in unison against the officers.




                       Figure 2 - Surveillance Video

       19.      As captured in YouTube Video 1, inside the tunnel, rioters use police riot shields

and police riot batons to combat uniformed law enforcement officers. Unidentified rioters can

also be overheard planning and implementing a rotation of rioters to have the “fresh” rioters up

front to combat law enforcement, with various unidentified individuals yelling “we need fresh

patriots in the front” and “we need fresh people.” Unidentified rioters are heard instructing the

front line of rioters to make a “shield wall” to prevent law enforcement from controlling rioters

with oleoresin capsicum spray (“O.C. spray”). Around the same time, STEVENS can be seen

grabbing one of the riot shields that is being passed forward by others in another video posted to
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YouTube (“YouTube Video 2”), as shown in Figure 3, below. That conduct depicted in

YouTube Video 2 is corroborated by surveillance footage which shows STEVENS with the riot

shield around 3:06 p.m. Figure 4, below, is a still obtained from the surveillance footage;

STEVENS is shown within the red box in Figure 4




               Figure 3 - YouTube Video 2




               Figure 4 - Surveillance Video

       20.     YouTube Video 1 shows that, after STEVENS then pushes his way to the front of

the line of rioters with the shield, STEVENS was holding the shield and using it to push against

the line of officers as the rioters add their weight and push him too. YouTube Video 1 also

shows that, at one point, the shield STEVENS is holding also strikes an officer in the helmet. At

another point, YouTube Video 1 also shows an officer thrust his baton over a shield in an
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apparent attempt to poke one of the protesters and shows that STEVENS grabbed the baton and,

in a brief struggle, tried to take it from the officer, as shown in Figure 5, below.




                                        Figure 5 - YouTube Video 1

       21.     Then, at approximately 3:11 p.m., STEVENS, who no longer holds a shield, can

be seen in surveillance footage again exiting the tunnel and moving back away from the line of

law enforcement officers guarding the lower west terrace doors.

       22.     Then, around 4:15 p.m., STEVENS can be seen in surveillance footage returning to

the tunnel, with the grey hood on his head but otherwise appearing the same, and once again joining

a large group of rioters pushing against law enforcement officers guarding the lower west terrace

doors. The rioters push as a crowd against the officers for a few minutes. Around 4:19 p.m.,

STEVENS can be seen waiving the group back and begins exiting the tunnel again as law

enforcement officers finally push the group back to the arch entrance.

                                        Identification of STEVENS

       23.     Law enforcement spoke with Witness 1 and Witness 2, both of whom have known

STEVENS personally for many years. Witness 1 and Witness 2 were each shown the below still,
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Figure 6, from another video of the event posted to YouTube, (“YouTube Video 3”). Each

identified the individual on the left whose face is visible in the still as STEVENS. Both were

able to provide the date of birth for STEVENS and additional details, including his phone

number – all of which matched information previously known to law enforcement regarding

STEVENS. WITNESS 1 and WITNESS 2 also confirmed that STEVENS travelled to

Washington D.C. in the first part of the month of January 2021.




               Figure 6 –YouTube Video 3




       24.     Law enforcement also separately spoke with Witness 3, who has known

STEVENS personally for months. Witness 3 was shown Figures 7, 8, and 9 from the videos

described above. Witness 3 identified the individual in the photographs as STEVENS.
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Figure 7 – YouTube Video 1




Figure 8 – YouTube Video 1
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         Figure 9 – YouTube Video 1

         25.      In addition, your affiant and other investigators examined several photographs

extracted from videos recorded by protesters inside or just outside of the tunnel with several

photographs of STEVENS from his social media accounts, as well as photos from known

government sources. Based on that comparison, your affiant concurs that STEVENS resembles

the individual pictured above. Notably, in an Alabama driver’s license photograph of

STEVENS, a mole is visible on his right cheek. In YouTube Video 3, which was partially taken

outside of the tunnel, a mole can be seen on the same location on STEVENS’s right cheek as he

walks past the camera, as circled in the still below.




Figure 10 – YouTube Video 3
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                                        CONCLUSION

      For the reasons set forth above, I submit there is probable cause to believe that

STEVENS violated:

   1. 18 U.S.C. § 111(b), which makes it a crime to forcibly assault or interfere with any person

      designated in section 1114 of this title 18 while engaged in or on account of the

      performance of official duties and uses a deadly or dangerous weapon (including a weapon

      intended to cause death or danger but that fails to do so by reason of a defective

      component). Persons designated within section 1114 include any person assisting an

      officer or employee of the United States in the performance of their official duties.

   2. 18 U.S.C. § 231(a)(3), which makes it a crime to commit or attempt to commit any act to

      obstruct, impede, or interfere with any fireman or law enforcement officer lawfully

      engaged in the lawful performance of his official duties incident to and during the

      commission of a civil disorder which in any way or degree obstructs, delays, or adversely

      affects commerce or the movement of any article or commodity in commerce or the

      conduct or performance of any federally protected function. (“Civil disorder” means any

      public disturbance involving acts of violence by assemblages of three or more persons,

      which causes an immediate danger of or results in damage or injury to the property or

      person of any other individual. “Federally protected function” means any function,

      operation, or action carried out, under the laws of the United States, by any department,

      agency, or instrumentality of the United States or by an officer or employee thereof; and

      such term shall specifically include, but not be limited to, the collection and distribution of

      the United States mails. 18 U.S.C. §232(1).)
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3. 18 U.S.C. § l752(a) and (b), which make it a crime to (2) knowingly, and with intent to

   impede or disrupt the orderly conduct of Government business or official functions,

   engage in disorderly or disruptive conduct in, or within such proximity to, any restricted

   building or grounds when, or so that, such conduct, in fact, impedes or disrupts the

   orderly conduct of Government business or official functions; or (4) knowingly engage in

   any act of physical violence against any person or property in any restricted building or

   grounds; or attempts or conspires to do so. The punishment for violating these provisions

   by using or carrying a dangerous weapon is imprisonment for up to 10 years. 18 U.S.C.

   § 1752(b)(1)(A). For purposes of Section 1752 of Title 18, a restricted building includes a

   posted, cordoned off, or otherwise restricted area of a building or grounds where the

   President or other person protected by the Secret Service is or will be temporarily

   visiting; or any building or grounds so restricted in conjunction with an event designated

   as a special event of national significance; and

4. 40 U.S.C. § 5l04(e)(2), which makes it a crime for an individual or group of individuals

   to willfully and knowingly (D) utter loud, threatening, or abusive language, or engage in

   disorderly or disruptive conduct, at any place in the Grounds or in any of the Capitol

   Buildings with the intent to impede, disrupt, or disturb the orderly conduct of a session of

   Congress or either House of Congress, or the orderly conduct in that building of a hearing

   before, or any deliberations of, a committee of Congress or either House of Congress; or

   (F) engage in an act of physical violence in the Grounds or any of the Capitol Buildings.
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As such, your affiant respectfully requests that the court issue an arrest warrant for STEVENS.

The statements above are true and accurate to the best of my knowledge and belief.



                                                            Respectfully Submitted,

                                                            __________________
                                                            Steven A. Weatherhead
                                                            Special Agent
                                                            Federal Bureau of Investigation




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 3rd day of February 2021.                           Digitally signed by
                                                                    G. Michael Harvey
                                                                    Date: 2021.02.03
                                                                    12:51:01 -05'00'
                                                    ___________________________________


                                                    U.S. MAGISTRATE JUDGE
